     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 1 of 11
 


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
                      and                   )
                                            )
STATE OF TEXAS,                             )
                                            )
                      Plaintiff,            )
              v.                            )      Civil Action No. 4:18-cv-03368
                                            )      Judge EWING WERLEIN, JR.
CITY OF HOUSTON, TEXAS,                     )
                                            )
                      Defendant.            )
                                            )

                            JOINT REPORT ON THE PROGRESS
                             OF SETTLEMENT NEGOTIATIONS

       On September 20, 2018, Plaintiffs United States and the State of Texas filed a Complaint

against the City of Houston, Texas, pursuant to the Clean Water Act (“CWA”), 33 U.S.C. § 1251

et seq., and the Texas Water Code § 7.001 et seq. (ECF No. 1). Simultaneously with filing the

Complaint, the United States filed an Unopposed Motion to Stay Proceedings to Allow the

Parties to Complete Settlement Negotiations (“Stay Motion”). (ECF No. 2). Plaintiff State of

Texas (the “State”) and Defendant City of Houston (“City” or “Houston”) supported the Stay

Motion.

       The Stay Motion advised the Court that the U.S. Department of Justice (“DOJ”), the U.S.

Environmental Protection Agency (“EPA”), the Office of the Attorney General for the State of

Texas, the Texas Commission on Environmental Quality (“TCEQ”) and Houston (collectively,

the “Parties”) were engaged in ongoing settlement negotiations to address Houston’s alleged



 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 2 of 11
 


violations of the CWA and the Texas Water Code. The Stay Motion further advised the Court

that prior to Hurricane Harvey, the Parties had made significant progress toward a final

agreement; that negotiations were suspended for a period due to the devastating impact of

Hurricane Harvey on the City and the need for Houston officials to focus attention on the health

and safety of its citizens; and that the Parties recently resumed negotiations.

       On September 24, 2018, the Court entered an Order Staying Litigation Pending

Settlement Negotiations (“Stay Order”). (ECF No. 8). In its Stay Order the Court concluded

that “granting said motion is in the best interest of judicial economy and will facilitate

settlement.” Stay Order at 1. The Stay Order directed the Parties to file a joint report on

settlement progress every 45 days following entry of the Stay Order. Id. The Stay Order also

stated “that any party, upon advance written notice to the parties and for good cause shown, may

request a status conference or that the matter be returned to the active litigation docket.” Id. at 2.

       Since entry of the Stay Order, the Parties have continued to conduct good faith settlement

negotiations. Pursuant to the Stay Order, the Parties submit this Joint Report to the Court on the

progress of their settlement discussions.

                                         BACKGROUND

       Plaintiffs filed their Complaint against Houston pursuant to Sections 309(b) and (d) of the

CWA, 33 U.S.C. §§ 1319(b) and (d), and provisions of the Texas Water Code. The Complaint

alleges violations of the CWA, provisions of the Texas Water Code, and the terms and

conditions of Texas Pollutant Discharge Elimination System (“TPDES”) permits issued to

Houston by the TCEQ. In general, the TPDES permits contain terms and conditions that

Houston must comply with in the operation of the City’s wastewater treatment plants

(“WWTPs”) and the wastewater collection systems associated with the WWTPs. Houston has



                                                  2 
 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 3 of 11
 


39 WWTPs that are currently subject to TPDES permits. The Complaint alleges two categories

of violations: (a) discharges of wastewater from WWTPs that exceed effluent limitations set

forth in TPDES permits and (b) unauthorized discharges of untreated wastewater, namely

sanitary sewer overflows (“SSOs”), from components of the collection systems associated with

WWTPs.

       The Parties’ settlement negotiations have focused on both types of violations alleged in

the Complaint. Specifically, the Parties have focused on the types of effluent violations that

have occurred, the causes of these effluent permit exceedances, and appropriate corrective

measures to be implemented to address effluent exceedances at the WWTPs. In addition, the

Parties have focused on, among other issues, the causes of SSOs, where they are occurring, and

measures to be implemented to eliminate SSOs.

                     PROGRESS IN SETTLEMENT NEGOTIATIONS

A. Settlement Meetings and Conference Calls

       On November 1 and 2, 2018, the Parties conducted a face-to-face settlement meeting in

Austin, Texas. Sixteen representatives of the Parties participated in the meeting. The

participants included counsel representing each Party, technical and professional staff on behalf

of EPA and Houston, and a consultant on behalf of the DOJ and EPA. Prior to the meeting, the

Parties exchanged proposed settlement language on a number of issues for discussion at the

meeting.

B. Summary of the Issues the Parties Are Now Addressing

       Initially, counsel for the United States, the State and Houston wish to emphasize to the

Court that they and others working with them are serving as negotiators for the respective

Parties. Any references in this Joint Report regarding reaching agreement or near agreement on



                                                 3 
 
        Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 4 of 11
 


issues addressed herein and issues previously discussed mean the negotiating teams have agreed

on positions they intend to recommend to the respective Parties’ principals, subject to reviewing

the terms of any proposed final agreement. Any final written agreement will be subject to the

review and approval of the Mayor of Houston and the City’s governing body and appropriate

officials of the United States and the State authorized to approve final settlements. Accordingly,

in this Section, “negotiating teams” is used when reference is made to any Party’s current

position on the issues discussed below.

          Since resuming settlement negotiations in August 2018 and during the stay period to date,

the Parties have focused on seven outstanding issues. Prior to the November meeting, the Parties

exchanged information and proposed settlement language on most of these issues and focused on

these issues at the meeting. As discussed below, the negotiating teams’ recent discussions have

focused on seven issues and the negotiating teams’ progress on each issue is discussed.

1. SSO Response Plan. Houston proposed an SSO Response Plan, which includes, among other

things, procedures Houston will follow in responding to SSOs. Plaintiffs provided Houston

comments on the proposed Plan. The Plan was discussed at the recent meeting and Houston has

agreed to incorporate Plaintiffs’ comments into a final Plan. The negotiating teams have

determined the substantive provisions of an acceptable SSO Response Plan and are currently

preparing a final proposed Plan.

    2. Wastewater Treatment Plants. The Parties have engaged in substantial discussions regarding

effluent violations occurring at WWTPs. At the recent meeting, the negotiating teams agreed on

a number of WWTPs where corrective measures will be implemented. Each of the identified

WWTPs will be assessed to determine the root causes of past and ongoing effluent exceedances;

some assessments have already been completed. Based on the assessments, Houston will


                                                  4 
 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 5 of 11
 


perform repair, replacement and improvement projects to address the causes of effluent

exceedances that have occurred and/or are occurring at the identified WWTPs. For those

WWTPs for which an assessment has already been completed and projects to be performed have

been identified, Plaintiffs have reviewed the completed assessments and proposed projects and

have provided and/or will provide Houston comments on the adequacy of the assessments and

proposed projects. The negotiating teams have agreed on the principal terms for addressing this

issue, subject to preparing and agreeing on final language that will be included in any settlement.

Houston has proposed other corrective measures to be implemented with respect to other

WWTPs; this matter will be addressed in the next Joint Report.

3.     Early Action Projects. During the course of negotiations, the negotiating teams have

discussed corrective measures (referred to as “Early Action Projects”) that Houston would agree

to implement on a short schedule to address SSOs and effluent violations. The negotiating teams

have reached agreement on these Early Action Projects.

4.     Condition Assessment. Houston’s “Wastewater Collection and Transmission System,” or

WCTS, consists of thousands of miles of force mains and gravity sewer lines, hundreds of lift

stations, and other components. Some SSOs occur due to deficiencies in these components. The

negotiating teams have discussed and are nearing agreement on the scope of an assessment

Houston will undertake to evaluate the condition of the components of its WCTS and on

implementation of a repair and rehabilitation program to address deficient components.

5.     Wet Weather Facilities. Houston operates three Wet Weather Facilities (“WWFs”).

Each WWF is associated with a specific WWTP and is subject to a TPDES permit. During

heavy rain events, excess wastewater flow from the sewer collection system may be routed to a

WWF that can provide storage of these flows. If wastewater flow exceeds the storage capacity



                                                 5 
 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 6 of 11
 


of the WWF, the excess volume of wastewater in the WWF is directed to an outfall and released

to a designated water body. Before being discharged, the excess wastewater flows in the WWFs

receive primary treatment and disinfection. The negotiating teams have agreed to eliminate

discharges from one of the WWFs. For the remaining two WWFs, the negotiating teams have

agreed that Houston will conduct a pilot project to determine whether certain treatment

technologies can be used to ensure that future discharges meet applicable regulatory

requirements. The negotiating teams are still determining the details of this pilot project.

6.     Capacity Management Operation and Maintenance (“CMOM”) Program. In general, a

CMOM is a preventive maintenance program designed to ensure that the components of a

wastewater collection system are properly operated and maintained. Preventative maintenance

activities may include, among other things, scheduled cleaning and inspections of sewer lines

and other components to minimize SSOs, and a Fats, Oil, and Grease (“FOG”) program. FOG

generators are normally food service and processing establishments, which are required by City

ordinances to operate and maintain FOG interceptors designed to minimize FOG releases to

sewer lines. A number of Houston’s past and ongoing SSOs have been and are caused by FOG.

The negotiating teams have reached an agreement on the principal provisions of a CMOM

Program, which will include, among other things: (a) a cleaning program (routine removal of

debris from certain sewer lines) and a preventative cleaning program (targeted cleaning of

certain areas with a history of SSOs); (b) an enhanced FOG program, including an increase in the

number of inspectors who conduct FOG inspections; (c) inspections of all collection system lift

stations; and (d) implementation of a routine system of operation and maintenance performance

evaluations of each WWTP. The negotiating teams are currently finalizing proposed CMOM

language for inclusion in a proposed settlement.



                                                   6 
 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 7 of 11
 


7.     Advanced Sewer System Monitoring. In recent years, Houston has implemented a pilot

program involving the installation of monitoring devices at 300 manholes. These devices are

designed to remotely monitor wastewater levels and send a real-time alert to a manned station

when specified wastewater levels are about to be exceeded. Based on the alert, workers are able

to respond to the particular manhole, thereby improving responsiveness and operations with the

goal of preventing SSOs from occurring. Houston has agreed to install at least 3,000 monitors

across the WCTS and evaluate the effectiveness of the monitors over a period of years. The

negotiating teams have reached agreement on this issue.

C. Parties’ Agreed Next Steps

       At the November meeting the Parties scheduled two telephone conference calls that will

involve professional and technical staff representatives of the Parties to discuss information

related to a significant issue that remains to be to be resolved. The first technical call is

scheduled to occur on November 9, 2018 and the second call is scheduled to occur on November

29, 2018. In addition, the Parties scheduled their next face-to-face meeting to take place in

Houston on December 13-14, 2018.

D. Parties’ Commitment to Continue and Complete Settlement Negotiations

       During the period of the Stay Order and before, the Parties have focused significant

resources on settlement negotiations. The Parties agree that they have continued to make

progress toward reaching a settlement that will resolve the allegations in Plaintiffs’ Complaint.

The Parties also agree that reaching a settlement is feasible, and they are committed to continue

their efforts. Further, the Parties agree that during the next forty-five days, significant progress

can be made toward agreement on the terms of a final settlement.




                                                   7 
 
     Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 8 of 11
 


       The United States, the State of Texas and Houston have conferred and agree to this Joint

Report to the Court.

                                        CONCLUSION

       The Parties will continue to keep the Court informed on the status of settlement

negotiations pursuant to the Court’s Stay Order.




                                             Respectfully submitted,

                                             FOR THE UNITED STATES

                                             JEFFREY H. WOOD
                                             Principal Deputy Assistant Attorney General
                                             Environment and Natural Resources Division
                                             U.S. Department of Justice

                                             s/ Nathaniel Douglas
                                             NATHANIEL DOUGLAS
                                             Pennsylvania Bar No. 18217
                                             Deputy Section Chief
                                             Environmental Enforcement Section
                                             Environment and Natural Resources Division
                                             United States Department of Justice
                                             P.O. Box 7611
                                             Washington, DC, 20004
                                             Ph: (202) 514-4628
                                             Fax: (202) 616-6584
                                             Nathaniel.Douglas@usdoj.gov
                                             Attorney-in-charge for the United States

                                             RYAN PATRICK
                                             United States Attorney
                                             Southern District of Texas

                                             DANIEL D. HU
                                             Assistant United States Attorney
                                             Chief, Civil Division
                                             SD Texas ID 7959
                                             Texas bar number 10131415
                                             1000 Louisiana, Suite 2300
                                                   8 
 
    Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 9 of 11
 


                                        Houston, TX 77002
                                        Ph: (713) 567-9518
                                        Daniel.Hu@usdoj.gov

OF COUNSEL:

MORGAN ROG
Attorney-Advisor
United States Environmental Protection Agency
Office of Enforcement and Compliance Assurance
1200 Pennsylvania Avenue, NW
Washington, D.C. 20460


EFREN ORDÓÑEZ
Senior Assistant Regional Counsel
U.S. Environmental Protection Agency
Region VI
1445 Ross Ave., Suite 1200
Dallas, TX 75202

                                        FOR THE STATE OF TEXAS

                                        KEN PAXTON
                                        Attorney General of Texas

                                        JEFFREY C. MATEER
                                        First Assistant Attorney General

                                        BRANTLEY STARR
                                        Deputy First Assistant Attorney General

                                        JAMES E. DAVIS
                                        Deputy Attorney General for Civil Litigation

                                        PRISCILLA M. HUBENAK
                                        Chief, Environmental Protection Division

                                        s/ Phillip Ledbetter
                                        PHILLIP LEDBETTER
                                        Assistant Attorney General
                                        Attorney-in-Charge
                                        State Bar No. 24041316
                                        S.D. Bar No. 1401529
                                        Phillip.Ledbetter@oag.texas.gov

                                           9 
 
    Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 10 of 11
 



                                    MARY E. SMITH
                                    Assistant Attorney General
                                    State Bar No. 24041947
                                    S.D. Bar No. 890693
                                    Mary.Smith@oag.texas.gov

                                    Office of the Attorney General of Texas
                                    Environmental Protection Division
                                    P.O. Box 12548, MC-066
                                    Austin, TX 78711-2548
                                    Telephone: 512-475-4152
                                    Facsimile: 512-320-0911

                                    ATTORNEYS FOR THE STATE OF TEXAS




                                      10 
 
    Case 4:18-cv-03368 Document 19 Filed in TXSD on 11/08/18 Page 11 of 11
 


                                CERTIFICATE OF SERVICE


       I hereby certify that on November 8, 2018, a copy of the foregoing Joint Report on the

Progress of Settlement Negotiations was filed electronically with the Clerk of Court using the

CM/ECF system. I also certify that I caused this filing to be served by e-mail and U.S. Mail on

the following counsel:

Tiffany S. Bingham
Senior Assistant City Attorney
900 Bagby, 4th Floor
Houston, Texas 77002
tiffany.bingham@houstontx.gov

Debra T. Baker
Baker ꞏ Wotring LLP
700 JPMorgan Chase Tower,
600 Travis Street
Houston, TX 77002
DBaker@BakerWotring.com


                                              s/ Nathaniel Douglas
                                             NATHANIEL DOUGLAS




                                               11 
 
